                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE
         ________________________________
                                          )
         UNITED STATES OF AMERICA,        )
                                          )
                   Plaintiff,             )
                                          )
         vs.                              ) Case No.: 3:17-CR-82
                                          )
         RANDALL KEITH BEANE AND         )
         HEATHER ANN TUCCI-JARRAF,       )
                                          )
                   Defendants.            )
         ________________________________)


                         DEFENDANT BEANE'S OPENING STATEMENT

                          EXCERPT OF JURY TRIAL PROCEEDINGS
                        BEFORE THE HONORABLE THOMAS A. VARLAN

                                   January 26, 2018
                                2:55 p.m. to 2:56 p.m.

         APPEARANCES:

         FOR THE PLAINTIFF:             CYNTHIA F. DAVIDSON, ESQUIRE
                                        ANNE-MARIE SVOLTO, ESQUIRE
                                        Assistant United States Attorney
                                        United States Department of Justice
                                        Office of the United States Attorney
                                        800 Market Street
                                        Suite 211
                                        Knoxville, Tennessee 37902

         FOR THE DEFENDANT:             RANDALL KEITH BEANE, PRO SE
         RANDALL BEANE                  Blount County Detention Center
                                        920 East Lamar Alexander Parkway
                                        Maryville, Tennessee 37904

         FOR THE DEFENDANT:             STEPHEN G. McGRATH, ESQUIRE
         (As Elbow Counsel)             9111 Cross Park Drive
                                        Suite D-200
                                        Knoxville, Tennessee 37923



                                     REPORTED BY:
                            Rebekah M. Lockwood, RPR, CRR
                               Official Court Reporter
                                    (865) 210-6698
                                     P.O. Box 1823
Case 3:17-cr-00082-TAV-DCP Knoxville,
                           Document 180Tennessee    37901-1823
                                        Filed 05/17/18 Page 1 of 4 PageID #: 18060
         APPEARANCES (CONTINUED):

         FOR THE DEFENDANT:             HEATHER ANN TUCCI-JARRAF, PRO SE
         HEATHER ANN                    105 Orchard Lane
         TUCCI-JARRAF                   Oak Ridge, Tennessee 37830

         FOR THE DEFENDANT:             FRANCIS LLOYD, ESQUIRE
         (As Elbow Counsel)             9111 Cross Park Drive
                                        Suite D-200
                                        Knoxville, Tennessee 37923




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Case 3:17-cr-00082-TAV-DCP Knoxville,
                           Document 180Tennessee    37901-1823
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                                                                                 3
                            Opening Statement by Mr. Beane

    1         (Excerpt of proceedings.)

    2         (In the presence of the jury.)

    3               MR. BEANE:    Good afternoon.

    4               I chose to represent -- or I want to call it present

    5    myself to you, because I felt like that would be the most

    6    original way for you to see the intentions here, whether

    7    they're of good character or bad character as the Court has so

    8    perfectly done a job of painting a picture.

    9               And that's the way I wanted you to see this today, is

   10    you're looking at a picture.       You're sitting there seeing a

   11    picture in this courtroom in your mind's eye of things that are

   12    being painted by words that are said and by people's actions.

   13               And I wanted to kind of relate to what I thought of

   14    was, if you're looking at a TV, and all of the sudden, the

   15    picture becomes pixilated, that means that data is being messed

   16    up, you're not getting the complete data to see the clear

   17    picture.

   18               And so I want you to understand that there's a very

   19    pixilated picture going on in this courtroom.         And I hope that

   20    by the time I'm done giving my testimony that you understand

   21    that there's a different picture than what's been painted in

   22    this courtroom.

   23               Thank you.

   24         (Excerpt of proceedings concluded.)

   25

                             UNITED STATES DISTRICT COURT



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                                                                                 4


    1                           CERTIFICATE OF REPORTER

    2    STATE OF TENNESSEE

    3    COUNTY OF KNOX

    4                I, Rebekah M. Lockwood, RPR, CRR, do hereby certify

    5    that I was authorized to and did stenographically report the

    6    foregoing excerpt of proceedings; and that the foregoing pages

    7    constitute a true and complete computer-aided transcription of

    8    my original stenographic notes to the best of my knowledge,

    9    skill, and ability.

   10         I further certify that I am not a relative, employee,

   11    attorney, or counsel of any of the parties, nor am I a relative

   12    or employee of any of the parties' attorneys or counsel

   13    connected with the action, nor am I financially interested in

   14    the action.

   15         IN WITNESS WHEREOF, I have hereunto set my hand at

   16    Knoxville, Knox County, Tennessee this 17th day of May, 2018.

   17

   18

   19

   20                                         _______________________________
                                               REBEKAH M. LOCKWOOD, RPR, CRR
   21                                          Official Court Reporter
                                               United States District Court
   22                                          Eastern District of Tennessee

   23

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